           Case 1:20-cv-04246-AJN Document 18 Filed 10/19/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                    10/19/2020

 L.M.,

                        Plaintiff,
                                                                               20-cv-4246 (AJN)
                 –v–
                                                                                    ORDER
 New York City Department of Education,

                        Defendant.



ALISON J. NATHAN, District Judge:

         The parties’ joint letter and proposed case management plan were due on October 16,

2020. The Court has not received them. The parties are ordered to file their joint letter and

proposed case management plan by October 21, 2020.


         SO ORDERED.


Dated: October 19, 2020                           __________________________________
       New York, New York                                  ALISON J. NATHAN
                                                         United States District Judge
